890 F.2d 417
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Ronald L. SLATTON, Plaintiff-Appellant,v.Gary MOHR;  Ron Carnein;  Rick Parker;  Carl Hayes,Individually and in official capacities,Defendants-Appellees.
    No. 89-3980.
    United States Court of Appeals, Sixth Circuit.
    Nov. 30, 1989.
    
      Before BOYCE F. MARTIN, Jr. and ALAN E. NORRIS, Circuit Judges, and CONTIE, Senior Circuit Judge.
    
    ORDER
    
      1
      This appeal has been referred to a panel of the court pursuant to Rule 9(a), Rules of the Sixth Circuit.
    
    
      2
      A review of the documents before the court indicates that the district court by order entered September 20, 1989, dismissed the civil rights action except as to the issue regarding screening of adult publications at the Ross Correctional Institution.  Appellant appealed on October 17, 1989, from the September 20 order.
    
    
      3
      This court lacks jurisdiction in this appeal.  Absent a Fed.R.Civ.P. 54(b) certification, an order disposing of fewer than all the claims or parties involved in the action is not appealable.    Liberty Mut. Ins. Co. v. Wetzel, 424 U.S. 737, 742-45 (1976);  Solomon v. Aetna Life Ins. Co., 782 F.2d 58, 59-60 (6th Cir.1986).  No Rule 54(b) certification was made in the instant case.  The final decision of the district court has not been entered during the pendency of this appeal;  therefore, this court lacks jurisdiction.    See Gillis v. United States Dep't of HHS, 759 F.2d 565, 569 (6th Cir.1985).
    
    
      4
      It is ORDERED that the appeal be, and it hereby is, dismissed.  Rule 9(b)(1), Rules of the Sixth Circuit.
    
    